wn -& Ww wv

Co oOo SN ON

10
11
12
13
14
15
16
17
18
19
20
21
22

24
25
26
ay
28

 

 

Case 2:17-cv-01709-RGK Document 1 Filed 03/02/17 Page 1of13 Page ID#:1

Caree Harper, SBN 219048

LAW OFFICES OF CAREE HARPER
The Marina Towers

4640 Admiralty Way Suite 500

Marina Del Rey, CA 90292

Tel. (213) 386-5078

Attorneys for Plaintiff

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CAREE HARPER,
Plaintiff,

Vv.

U.S. DISTRICT JUDGE OTIS D.
WRIGHT; FORMER U.S.MLS.
DIRECTOR STACIA A. HYLTON;
U.S.M.S. DIRECTOR DAVID L.
HARLOW; AKAL SECURITY;
UNKNOWN U.S.M.S. DEPUTIES;
UNKNOWN AKAL SECURITY
GUARDS andDOES 1-10ez. al.,
individually and in their official
capacities.

Defendants.

)
)
)
)
)
)
)
)
)
)
)
)
)
)
)
)
)
)
)
)
)
)
)
)
)
)
)

CASE NO.: CV 17-1709
COMPLAINT FOR DAMAGES
1. VIOLATION OF 42 U.S.C. §1983
-EXCESSIVE FORCE
-FALSE IMPRISONMENT
-ASSAULT
-BATTERY

-SUBSTANTIVE DUE PROCESS
-DENIAL OF MEDICAL ATTENTION

2. INTENTIONAL INFLICTION OF
EMOTIONAL DISTRESS

3. DEFAMATION PER SE

* JURY TRIAL DEMAND*

COMPLAINT FOR DAMAGES

 
Oo foe JN DB wo FF WW NY

NM No nN to bo ho ho to bh — _ — —_ _ _ —_ — —_ —
oo ~~] an wn & bo bo — oS oO oo ~] Oo wa Ww No — So

 

 

Case 2:17-cv-01709-RGK Document 1 Filed 03/02/17 Page 2 o0f13 Page ID #:2

 

JURISDICTION
i. Jurisdiction of this court is invoked under 28 U.S.C. §§ 1343, (1), (2), (3) and (4).
This action at law for money damages arises under Title 42 U.S.C. Section 1983 and the
United States Constitution, the laws of the State of California and common law principles
to redress a deprivation under color of state law of rights, privileges and immunities
secured to Plaintiff by said statutes, and by the First, Fourth, Eight and Fourteenth

Amendments of the United States Constitution.

ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
2: At all times herein mentioned, Plaintiff CAREE HARPER was and is a resident of
the County of Los Angeles and licensed attorney in the State of California.
3, At all times herein mentioned, Defendant DISTRICT COURT JUDGE OTIS D.
WRIGHT, was and is a United States District Court Judge in the Central District of
California.
4, Former U.S. MARSHAL SERVICE ("USMS") DIRECTOR STACIA HYLTON
(hereinafter “HYLTON”) was the Director of the USMS at the time of the incident in
question and was the supervisor of the UNKNOWN DEFENDANT DEPUTIES
("UDD").
5. Defendant USMSDIRECTOR DAVID L. HARLOW (hereinafter “HARLOW’”) is
the current Director of the USMS and is the current supervisor of the "UDD"s.At all
times herein mentioned, HYLTON and HARLOW possessed the power and authority to
adopt policies and prescribe rules, regulations and practices affecting the operation of the
USMS, and particularly said SERVICE’s court security, patrol, internal investigations
and training and personnel divisions and other operations and subdivisions presently
unidentified to Plaintiff, and their tactics, methods, practices, customs and usages.
6. The "UDD"s are sued individually, and in their capacities as a peace officers, were

and are employees of the USMS acting within the scope of their employment and in their
/I¢
Atf

COMPLAINT FOR DAMAGES

2

 
Oo © YN DBD UH fF WW NY

BO WN WO PN KN PO BRD RD RD me eee
oOo NN DWN UA SF WY NY KF CO Oo Pe NY DH Uo F&F WY YP YF O&O

 

 

Case 2:17-cv-01709-RGK Document 1 Filed 03/02/17 Page 3o0f13 Page ID#:3

individual capacities under the color of law.

7. Defendant AKAL SECURITY is and at all relevant times was the employer of the
court security officers, commonly known as "blue jackets". At all times herein
mentioned, AKAL SECURITY possessed the power and authority to adopt policies and
prescribe rules, regulations and practices affecting the operation of the blue jackets, and
particularly the court security, patrol, internal investigations and training and personnel
divisions and other operations and subdivisions presently unidentified to Plaintiff, and
their tactics, methods, practices, customs and usages.

8. Plaintiff is informed and believes and thereon alleges that each of the Defendants
designated as a "DOE" is intentionally and otherwise responsible in some manner for the
events and happenings herein referred to, and thereby proximately caused injuries and
damages as herein alleged. The true names and capacities of DOES 1 through 10,
inclusive, and each of them, are not now known to Plaintiff who therefore sues said
Defendants by such fictitious names. Plaintiff will amend this Complaint to show their
true names and capacities when same has been ascertained.

9. Defendants, and each of them, did the acts and omissions hereinafter alleged in bad
faith and with knowledge that their conduct violated well established and settled law.

/I/

/I/

//

COMPLAINT FOR DAMAGES

3

 
Oo fo NY DB vA FP WD NY

NY WN PN YN HV VN PDO RQ RQ Rm RO wt Rr RE eS
Co YD DH WO F&F W NY KY COD Oo Fe A DH F&F WwW YP KF C&C

 

 

Case 2:17-cv-01709-RGK Document1 Filed 03/02/17 Page 4of13 Page ID #:4

BACKGROUND.
10. In July 2014, Plaintiff was retained to represent homeless pedestrian, Marlene
Pinnock, who was viciously beaten by former California Highway Patrol (“CHP”’)
Officer Daniel Andrew on a busy Los Angeles freeway. The daytime beating was
captured on videotape and posted on the Internet by another motorist. The video went
viral shortly thereafter. Ms. Pinnock, diagnosed as bipolar, was initially housed in a
mental facility after the beating and was released after medication was reintroduced into
her system. Physicians at the mental facility released Ms. Pinnock and she was again
homeless’. Plaintiff provided Ms. Pinnock private medical staff, security, a driver, and
housing in an exclusive community. With the assistance of the Plaintiff, Ms. Pinnock
experienced the longest period of positive growth in her adult years.
11. Plaintiff successfully negotiated a precedent setting settlement of Ms. Pinnock’s
excessive force case despite the Defendant Judge “staying” that litigation and usurping
Plaintiff's ability to preserve valuable evidence by taking Ms. Pinnock’s deposition
which was scheduled by Plaintiff immediately in order to preserve evidence. Pursuant to
the Settlement Agreement, the CHP officer was required to terminate his position in
addition to a seven-figure settlement. Plaintiff placed Ms. Pinnock’s portion into a
special needs trust because this laborious extra step was in the best interest of the client
and because Maisha Allums and her husband Robert Nobles confronted Plaintiff in the
parking lot at the mental health facility while Ms. Pinnock was still being housed there,
and demanded Plaintiff answer their most concerning questions: “When are we going get
compensated for having to deal with her?! When are we going get paid back for what we
went through with her?” This caused Plaintiff to lock up as much of Ms. Pinnock’s funds
as possible to preserve her wealth, although not legally mandated it was in the best
interest of the client. Thus, with the exception of $25,000.00 all of Ms. Pinnock’s funds

were placed in a special needs trust which provided the added benefit of allowing Ms.

 

' She chose to live on the street instead of with her daughter because her daughter, MaishaAllums, stole money from her.
(Recorded interview with national newspaper 8/4/14).

COMPLAINT FOR DAMAGES

4

 
oOo ey JN Dw FSF WY tL

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24

26
27
28

 

 

Case 2:17-cv-01709-RGK Document 1 Filed 03/02/17 Page 5of13 Page ID#:5

Pinnock to keep her State and county benefits. Plaintiff's office received calls from all
around the world from well wishers to critics of Ms. Pinnock. The world heard about the
bipolar homeless woman who was beaten on the side of the freeway by the CHP officer.
Nonetheless, Defendant Judge Wright chose not to check on Ms. Pinnock when the case
was filed, when the case was settled or when the case was dismissed but stated that he
found it necessary to summons attorneys into court and check on things after everything
completed- unbelievable.

12. Atthe time of the settlement Ms. Pinnock had never had a conservator and had
never filed bankruptcy, unlike Defendant Judge Otis Wright who finalized a personal
bankruptcy the year beforeand became the only sitting Judge on the federal bench to do
so. Having charged off a $12,000.00 shopping spree at Nordstroms as part of his
bankruptcy the Defendant Judge was furious to find that plaintiff's counsel, a female,
made a considerable amount of money in what he characterized as a relatively short
period of time.

13. — ‘It is well settled law that judges, acting in the course and scope of their duties, are
entitled to absolute immunity from personal liability arising out of the performance of their
judicial duties. The exception to that well-settled law is if the judge acts and has no jurisdiction
to do so.

14. Plaintiff alleges that pursuant to the Dismissal with Prejudice” signed and filed by the
Defendant Judge on February 17, 2015, he did not have jurisdiction to have Plaintiff taken into
custody and jailed for two days. Plaintiff also alleges that the Defendant Judge is not protected
from personal liability stemming from his slanderous comments in front of a multiple news
outlets on March 18, 2015, after dismissing the contempt citation on March 4, 2015.

Hl

f/f

 

"The docket report in the Pinnock matter, Case # 14-CV-3551 ODW-AS, shows that Document 63, an Order for Dismissal with prejudice,
was filed on 2/17/15 and entered on 3/4/15. Doc. 63 was the order dismissing the last defendant from the action. This document bears the

signature of Defendant Wright and a stamp in boldface type that reads: “CASE CLOSED”, effectively ending the jurisdiction of
Defendant Judge Wright.

COMPLAINT FOR DAMAGES

5

 
oO eS SI HO UN FS WY YS

NN NY NY NY NY NY NY De Be ee ee i
oD DA AW BB YO NYDN KF SG BO mw I DR HA BR YW YY KS CS

 

 

Case 2:17-cv-01709-RGK Document 1 Filed 03/02/17 Page 6 of 13 Page ID #:6

STATEMENT OF FACTS
15. On March 2, 2015, Plaintiff appeared at a suasponte“status conference” in
Defendant Judge’s courtroom at the U.S. District Court in Los Angeles. Plaintiff
provided the court with the requested documents but was unexpectedly berated and
repeatedly asked questions that triggered attorney/ client privilege objections. Plaintiff
requested counsel and requested that she be allowed to leave. Both requests were denied.
Plaintiff alerted the court that she was having chest pains, and his response was to make
hand gestures and that triggeredmultiple US Marshals and blue jackets to forcefully and
physically seized Plaintiff. Plaintiff screamed in pain as the group of 6-8 officers
violently wrenched her arms behind her back. At this point the Defendant Judge stood
from the bench, pointed, clapped and laughed at the Plaintiff. Plaintiff yelled out about
the use of force being administered as one short smirking White male deputy pointed a
Taser in the Plaintiff's face. Plaintiff had previously cleared security and at no time did
she present a physical threat to anyone.
Plaintiff was denied immediate medical care even after advising the sadistic judge and
aggressive deputies of her medical conditions and chest pains.
16. The Plaintiff asked the Defendant Judge if he was authorizing the force being used on her
and he again gestured with his hands. Plaintiff alleges that the Defendant Judge engages in
sexual relations with court reporter(s)and through that intimate contact has developed signals
about going on and off the record without parties knowing. This allegation was part of the
Judicial Misconduct Complaint the Plaintiff filed against the Defendant Judge in 2015. When
confronted with this allegation as part of Ninth Circuit’s investigation the Defendant Judge
stated that he “learned that it was error to go off the record without consent of all counsel and he
stopped that practice...”
17. |The USMS denied Plaintiff of medical care for several hours and was threatening when
she inquired as to when she would be treated. The Plaintiff was eventually admitted to a local

hospital several hours later where she was continuously handcuffed to a gurney and subjected to

Mt
(1

COMPLAINT FOR DAMAGES

6

 
oO fo NN DB A FE W WL

10
11
12
13
14
15
16
7
18
19
20
21
22
23
24
25

27
28

 

 

Case 2:17-cv-01709-RGK Document 1 Filed 03/02/17 Page 7 of 13 Page ID#:7

several frightening tests. One of which simulated a panic attack with the use of intravenous
drugs.

18. On March 3, 2015, Defendants denied the Plaintiff of her Constitutional right to vote
when they wrongfully arrested, seized and imprisoned Plaintiff. Once the Defendant Judge
learned that Plaintiff had not spent the first night in the federaljail, he refused to allow her to be
released, and instead maliciously ordered her booked into the Metropolitan Detention Center the
second night.

19. On March 18, 2015, the Defendant Judge later explained to an open courtroom that he
intended to make “‘an example” out of the plaintiff. The Defendant Judge bragged about his
treatment of the Plaintiff and about how nothing could be done to him because he has a lifetime
appointment on the bench. Defendant stated that Plaintiff “exploited” her client because of the
unconfirmed fee he believes Plaintiff charged. These types of remarks are similar to accusing a
priest of fondling children; or accusing a reporter of plagiarism; or accusing a judge of bribery-
that is unless the judge has just filed bankruptcy while sitting on the bench. These malicious
and slanderous comments were made in open court in front of numerous media outlets, and they
were intended to and did, in fact, harm Plaintiffs reputation in the community. The Defendant
Judge intended these salacious comments to end the career of the Plaintiff.

///

/I/

//

COMPLAINT FOR DAMAGES

7

 
& WwW bh

oOo SS SN OO

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

27
28

 

 

Case 2:17-cv-01709-RGK Document 1 Filed 03/02/17 Page 8o0f 13 Page ID#:8

FIRST CAUSE OF ACTION
(VIOLATION OF FEDERAL CIVIL RIGHTS - EXCESSIVE FORCE,
ASSAULT, BATTERY, FALSE ARREST/ IMPRISONMENT, CONSPIRACY,
DUE PROCESS - 42 U.S.C. § 1983)
(Against ALL Defendants & DOES 1-10 excluding Harlow)

20. Plaintiff refers to and repleads each and every allegation contained in paragraphs 1
through of this complaint, and by this reference incorporates the same herein and makes
each a part hereof.
21. This action at law for money damages arises under Title 42 U.S.C. § 1983 and the
United States Constitution, the laws of the State of California and common law principles
to redress a deprivation under color of state law of rights, privileges and immunities
secured to Plaintiff by said statutes, and by the First, Fourth, Sixth, Eighth and Fourteenth
Amendments of the United States Constitution.
22. Commencing at or about the aforementioned date and place,
without lawful cause justification or jurisdiction, and acting under color of law,
Defendants, and each of them, intentionally and maliciously deprived Plaintiff of rights
secured to her, by the First, Fourth, and due process guarantees of Fourteenth
Amendments to the United States Constitution.
23. Defendants, and each of them, joined in and carried out a mutually supportive
conspiracy to deprive Plaintiff of his rights against unreasonable seizures, and due
process guarantees by participating in a mutually supportive, corrupt effort to
fraudulently justify the violation of Plaintiff's rights on false accusations manufactured by
a biased, bankrupt, angry judge and supported by Defendants and DOES 1-10.
24. Asa proximate result of the aforesaid acts and omissions of Defendants, and each
of them, Plaintiff sustained great physical and mental pain and shock to her nervous
systems, fear, anxiety, torment, degradation and emotional distress.
25. By reason of the aforementioned acts and omissions of Defendants, and each of
them, Plaintiff incurred medical and therapeutic expenses in an amount to be proven.
/I/
(t/

COMPLAINT FOR DAMAGES

8

 
oO Co HN DB UO Ff WY WY S&S

DO mm et
mS ©) © YN DH UN fF WD NYO KF S&S

Nw MY NY NY NY KN W
I HD A FB WD PB &

bo
oo

 

 

Case 2:17-cv-01709-RGK Document 1 Filed 03/02/17 Page 9of13 Page ID#:9

26. In addition, by reason of the aforementioned acts and omissions of Defendants, and
each of them, Plaintiff was kept from voting! Plaintiff has suffered loss and of earnings
and employment opportunities all to her damage in an amount to be proven.

27. By reason of the aforementioned acts of Defendants, and each of them, Plaintiff
was compelled to secure the services of an attorney at law to redress the wrongs
hereinbefore mentioned and by virtue thereof, Plaintiff is indebted and liable for
attorneys’ fees.

28. The aforementioned acts and omissions of Defendants were committed by each of
them knowingly, willfully and maliciously, with the intent to harm, injure, vex, harass
and oppress Plaintiff with a conscious disregard of Plaintiff's constitutional rights and by
reason thereof, Plaintiff seeks punitive and exemplary damages from Defendants
excluding HARLOW and DOES 1-10 and each of them, in an amount as proved.

ASSAULT & BATTERY
Against UDDs

29. The Unknown Defendant Deputies and Blue Jackets assaulted and battered
Plaintiff.
30. By reason of the aforesaid acts, Plaintiff was placed in great fear for her safety and
physical and emotional well being. Plaintiff was also subjected to non-consensual,
physical violence at the hands of the UCC’s.
31. As a direct and proximate result of the foregoing, Plaintiff has been damaged as
recited above and demands and is entitled to the damages recited in the Complaint fon
Damages, including, but not limited to, general and punitive damages.
//

HI

H/

COMPLAINT FOR DAMAGES

9

 
Co Se IN BO UH SF WY NY

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-01709-RGK Document 1 Filed 03/02/17 Page 10o0f13 Page ID#:10

FALSE ARREST/IMPRISONMENT
(Against Defendants excluding HARLOW& HYLTON)

32. On or about March 2, 2015, at the District Court in Los Angeles, California,
Plaintiff was caused to be unlawfully seized, arrested and booked by Defendants, and
each of them, maliciously and without warrant or order of commitment, due process, or
any other legal authority and of any kind as plaintiff had not committed any crime or
public offense.

33; As a proximate result of the acts of defendants, and all of them, Plaintiff has
suffered damages, loss and harm.

34. As a direct and proximate result of the foregoing, Plaintiff has been damaged as
recited above and demands and is entitled to the damages recited in the First Cause of

Action, including, but not limited to, general and punitive damages.

SECOND CAUSE OF ACTION
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
(Against All Individual Defendants)

35.  Plaintiffrefers to and repleads each and every allegation contained in paragraphs 1
through 34 of this complaint, and by this reference incorporates the same herein and
makes each a part hereof.

36. On or about March 2, 2015, and thereafter, Plaintiff was entitled to the duty of due
care by Defendants, and each of them, including but not limited to, the care, service and
protection by Defendants.

37. On or about said date, and thereafter, Defendants and each of them, intentionally
caused Plaintiff to be illegally arrested, illegally detained, subjected to excessive and
unreasonable force, and conspired among themselves to cover up their lawlessness and
thwart plaintiff's right to recover damages by fraudulently casting plaintiff as a criminal

offender. Prior to March 2, 2015, Plaintiff had never been arrested.

(1/
COMPLAINT FOR DAMAGES

10

 

 
Oo fe NY BO Ww F&F WW WV

ww ww ww ww VY PM PP BP Om mm a ie
oD DR A B&B WwW NHN SF oO Oo we HN DR HW BB YH VY KS

 

 

Case 2:17-cv-01709-RGK Document1 Filed 03/02/17 Page 11o0f13 Page ID #:11

38. In doing the aforementioned, Defendants' conduct was intentional, outrageous,
malicious, and done for the purpose of or with reckless disregard for the consequences,
causing Plaintiff to suffer emotional suffering and mental distress, the indignity of an
arrest, booking, fear, anxiety, and mental anguish.

39. Asadirect and proximate result of the foregoing, Plaintiff has suffered, and
continues to suffer, mental and emotional distress and is entitled to and demands damages
against Defendants jointly and severally, as recited in the Complaint for Damages,

including, but not limited to general and punitive damages.

THIRD CAUSE OF ACTION
SLANDER PER SE

40. Plaintiff incorporates by reference paragraphs 1-39 as though fully alleged hereto.
41. Onor about March 18, 2015, Defendant Judge Wright kicked Plaintiff's two
attorneys out of court, demounted the bench and held a bootleg townhall meeting in the
courtroom, bashing Attorney Harper. Defendant Judge maliciously, intentionally and
repetitively published, spoke, and otherwise communicated false and damaging
information about the Plaintiff to a group with a sinister intent and for the purpose of
“making an example” out of the Plaintiff and to support and defend his friend, DA Jackie
Lacey who Plaintiff repeatedly criticized for not charging former CHP Officer Andrew
for the viciously beating pedestrian Marlene Pinnock. Said defamatory comments were
made afterthe case was dismissed and Defendant Judge Wright no longer enjoyed judicial
immunity. Said comments led to other libelous comments by news organizations,
internet blogs further damaging Plaintiff's standing in the community a directly causing
Plaintiff to be terminated from the representation of another case involving a man shot in
Los Feliz.
42. Asa direct and proximate result of the foregoing, Plaintiff has suffered, and
continues to suffer, mental and emotional distress and is entitled to and demands damages
(//

COMPLAINT FOR DAMAGES

I]

 
co Oo wo HN BD wo FSF WY WY

NH NO HN BP KR BRO RD RD Rw mt
eo 41 BO UH SF WH NH KY CO Oo CO IN HO AH HSH WY LF

 

 

Case 2:17-cv-01709-RGK Document1 Filed 03/02/17 Page 12 o0f13 Page ID #:12

against Defendants jointly and severally, as recited in the Complaint for Damages,
including, but not limited to general and punitive damages.

///

HI

/I

COMPLAINT FOR DAMAGES

 
Oo fo N DB vA FSF WY NY

NO NO PO PO DO DO DR RD RO Rr RE RSE ESE ll
oo tN DO UH fk WY NY K& ODO OBO weaA BDH FP YP HYP YF ©

 

 

Case 2:17-cv-01709-RGK Document1 Filed 03/02/17 Page 13 0f13 Page ID #:13

PRAYER
WHEREFORE, Plaintiff prays for judgment against Defendants and

each of them, as follows:
AS TO EACH CAUSE OF ACTION AS APPLICABLE

1. For General damages according to proof;
2. For Special damages according to proof;
3. For Punitive damages as provided by law, in an amount to be proved against

each individual Defendant;
4. For attorney's fees pursuant to 42 U.S.C § 1988 and California Civil Code
§§52, and 52.1;
5. For Costs of suit;

 

6. For such other and further relief as the Court may deem proper.
eT 42 | LAW OFFICES OF CAREE HARPER
By [/ Ah [
Carée Harper

Attorneys for Plaintiff

JURY DEMAND
Plaintiff hereby demands a trial by jury.

DATED: Ar 1? LAW OFFICES OF CAREE HARPER

Yg

rper
“Earde’ s for Plaintiff

COMPLAINT FOR DAMAGES

13

 
